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                                   EXHIBIT A
                                            EXHIBITS IN SUPPORT OF
                                            EMERGENCY MOTION FOR
                                            COMPASSIONATE RELEASE




MOTION FOR COMPASSIONATE RELEASE
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                                           FEDERAL PUBLIC DEFENDER
                                              NORTHERN DISTRICT OF CALIFORNIA
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                                                     OAKLAND, CA 94612


STEVEN G. KALAR                                                                               Telephone: (510) 637-3500
 Federal Public Defender                                                                             Fax: (510) 637-3507
JOYCE LEAVITT                                                                                Email: Joyce_Leavitt@fd.org
 Assistant Federal Public Defender




                                                     May 18, 2020


          Ms. Christine Hilliard – via email and US Mail
          RRM Sacramento
          RESIDENTIAL REENTRY OFFICE
          501 I STREET, SUITE 9-400
          SACRAMENTO, CA 95814
          chilliard@bop.gov

          cc, via email:
          Dominic Ayotte
          Deputy Regional Counsel/WXRO CLC Supervisor
          cayotte@bop.gov


          RE: Quincy Krashna, Federal Register No. # 24074-111


          Dear Ms. Hilliard:

                  I am writing to ask request that Mr. Krashna be transferred to Home Confinement or
          immediate Compassionate Release. Mr. Krashna has a number of risk factors, which alone and in
          combination place him at risk for severe complications of COVID-19, including a serious heart
          condition (congestive heart failure), hypertension, and a history of smoking. He also has high
          blood pressure. The conditions were verified in Mr. Krashna’s presentence report dated August
          21, 2018 (“PSR”), which was sent to the Bureau of Prisons (BOP) at the time that he self-
          surrendered to serve his sentence. The PSR includes confirmation from Mr. Krashna’s treating
          doctor that he had suffered two prior heart attacks in 2004 and 2005 with stint replacements, and
          had a history of transient mini strokes, as well as hypertension, chronic pain and he uses
          marijuana to aid in sleep and pain management. See PSR at ¶¶ 70, 73.

                 According to information obtained from the BOP, Mr. Krashna is classified as a “Care
          Level 2” inmate, which means he is stable with chronic care issues. However, since he was
          returned to Santa Rita Jail from home detention in early 2020, Mr. Krashna has had ongoing
          medical complications relative to his chronic conditions. Records obtained from Santa Rita Jail
          demonstrate that Mr. Krashna has been seen by medical staff there continuously since January,
          2020, for ongoing chest pains, shortness of breath, and arm pain. In late March 25, 2020, a
          medical doctor assessed Mr. Krashna as potentially experiencing a coronary artery spasm and
          placed him on different medications for high blood pressure and coronary artery disease, as well
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as a medication for chest pain. His condition has not resolved and his medical conditions make
him extremely vulnerable. He also has chronic nerve damage.

        Because of his medical condition, I am requesting that you transfer Mr. Krashna to home
confinement pursuant to § 12003(b)(2) of the CARES Act, and the Attorney General’s April 3,
2020, Memorandum finding the COVID-19 emergency conditions are materially affecting the
functioning of the Bureau of Prisons. Mr. Krashna is close to the end of his sentence with a
projected release date, according to the BOP, of September 5, 2020. He is medically at risk, and
transferring Mr. Krashna to home detention will decrease the population at Santa Rita Jail
without endangering the greater community. Alternatively, for the same reasons, immediate
Compassionate Release is requested. 18 U.S.C. § 3582( c)(1)(A).

        I have spoken with Hari Krashna, Mr. Krashna’s mother. She may be reached at (510)
932-9385. The release plan is for Mr. Krashna to live at his own apartment which is located at
700 Calhoun Ave, Albany, CA 94706. This apartment has a long term lease and the rent has been
paid through November. Alternatively, according to Hari Krashna, her son could live with her.
Hari Krashna has a residence in Richmond, California, but is currently working in Los Angeles.
However, she is willing to work out whatever is needed to ensure that her son could be released
from Santa Rita Jail on home detention.


                                                Sincerely,

                                                STEVEN G. KALAR
                                                Federal Public Defender
                                                Northern District of California
                                                          /S/
                                                JOYCE LEAVITT
                                                Assistant Federal Public Defender
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                                   EXHIBIT B –
                                   FILED UNDER SEAL
                                            EXHIBITS IN SUPPORT OF
                                            EMERGENCY MOTION FOR
                                            COMPASSIONATE RELEASE



MOTION FOR COMPASSIONATE RELEASE
EXH., KRASHNA, CR 17–22 JSW
